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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ROBERT P. STORCH; MICHAEL J.
 MISSAL; CHRISTI A. GRIMM; CARDELL
 K. RICHARDSON, SR.; SANDRA D.
 BRUCE; PHYLLIS K. FONG; LARRY D.
 TURNER; HANNIBAL “MIKE” WARE;

                              Plaintiffs,

               v.

 PETE HEGSETH, in his official capacity as
 Secretary of Defense; DOUGLAS A.
 COLLINS, in his official capacity as
 Secretary of Veterans Affairs; ROBERT F.
 KENNEDY, JR., in his official capacity as
 acting Secretary of Health and Human                   Civil Case No. 1:25-cv-00415-ACR
 Services; MARCO RUBIO, in his official
 capacity as Secretary of State; DENISE L.
 CARTER, in her official capacity as Acting
 Secretary of Education; GARY
 WASHINGTON, in his official capacity as
 Acting Secretary of Agriculture; VINCENT
 MICONE, in his official capacity as Acting
 Secretary of Labor; EVERETT M.
 WOODEL, JR., in his official capacity as
 Acting Administrator of the Small Business
 Administration; DONALD J. TRUMP, in his
 official capacity as President of the United
 States;

                              Defendants.


         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
    A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       UPON CONSIDERATION OF plaintiffs’ motion for a temporary restraining order and

preliminary injunction and accompanying memorandum, it is hereby ORDERED that:

       The motion is GRANTED. Plaintiffs shall continue to serve as Inspectors General (IGs)

of their respective agencies unless and until removed in accordance with the requirements of the
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Inspector General Act as amended, and Agency Defendants are enjoined from (1) taking any

further action to obstruct plaintiffs from carrying out their official duties as IGs of their respective

federal agencies unless and until any such plaintiff is removed in accordance with the requirements

of the Inspector General Act as amended, and (2) recognizing the authority of any other person as

successor to any plaintiff as IG.

         IT IS SO ORDERED.


Dated:

                                                    Honorable Ana C. Reyes
                                                    United States District Judge




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